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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                 CRIMINAL NO. 1:07cr136 LG-RHW

ANTHONY MARCELL THOMPSON a/k/a Ant
and CARLOS MONTIQUE KNIGHT
      a/k/a Gator

                             ORDER FINALIZING FORFEITURE

        THIS MATTER is before the Court on the motion (Ct. R. Doc. #55) of the United States of

America for an order finalizing the forfeiture of certain property belonging to Defendants

ANTHONY MARCELL THOMPSON, a/k/a “Ant”, and CARLOS MONTIQUE KNIGHT, a/k/a

“Gator”. After review of the court record in this matter, and upon the representation of the United

States that the following property has been administratively forfeited with notice of the seizure and

intent to forfeit having been published and sent to each party appearing to have an interest in the

property through the administrative process; and no one having filed a claim to the property as

provided by the notice, the Court finds that the United States’ motion is well taken and should be

granted. It is, therefore,

        ORDERED AND ADJUDGED that the following described property be, and is hereby,

forfeited:

                                    PERSONAL PROPERTY

                $75,020.00 in U.S. Currency (07-DEA-491012)



as ordered by the Preliminary Orders of Forfeiture (Ct. R., Docs. #53 and #54) entered by the court

and filed of record on the docket on February 6, 2008.
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       IT IS FURTHER ORDERED AND ADJUDGED that the requirement of commencing or

completing the ancillary proceeding as required by the Preliminary Orders of Forfeiture is hereby

canceled; the Preliminary Orders are made final orders of forfeiture for all purposes; and the clerk

is authorized to close the forfeiture segment of this case.

       IT IS FURTHER ORDERED AND ADJUDGED that the above property shall be disposed

of by the appropriate federal agency in accordance with law and regulations.

       SO ORDERED AND ADJUDGED this the 24th day of February, 2008.




                                                       s/
                                                       LOUIS GUIROLA, JR.
                                                       UNITED STATES DISTRICT JUDGE




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